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                     IN THE DISTRICT COURT OF THE UNITED STATES

                         FOR THE DISTRICT OF SOUTH CAROLINA


UNITED STATES OF AMERICA                     )               CR. NO.: 8:19-181
                                             )
                                             )
                                             )
               vs.                           )
                                             )       MOTION TO CONTINUE
                                             )        (for ALL DEFENDANTS)
RICHARD LAMOND LONGSHORE                     )

       Now comes the Defendant Richard Lamond Longshore, by and through his attorney and

WITH THE CONSENT OF ALL DEFENDANTS, hereby moving the Court for a continuance of

the Pre-Trial Conference and Change of Plea Hearing scheduled for June 25, 2019 until at least

two or three terms of Court for the following reasons:

                                          FACTS

       Defense counsel requires additional time to review discovery materials and confer with the

defendant.

       Defense counsel has specifically advised Defendant that by requesting this continuance or

consenting thereto, Defendant has waived his rights to a speedy trial.

       New counts and Defendants were recently added and the discovery is voluminous.

       Although ordinarily, a defendant must be tried within seventy days of the unsealing of an

indictment or initial appearance, whichever occurs later, a number of statutorily recognized

exceptions to this rule exist which are found in 18 U.S.C §§3161, et seq. In addition, there are

more general reasons for continuing a case which require a weighing and balancing of the public’s

interest in a speedy trial with the defendant’s interests and the government’s interests. U.S. v.

Keith, 42 F.3d. 234 (4th Cir. 1994); Zedner v. U.S., 126 S.Ct. 1976 (2006).
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       The defendant bases this motion to Court for a continuance on the provisions set forth in

18 U.S.C. §3161(h)(7)(A), which states that the period within which a defendant must be tried can

be tolled if it would be unreasonable to expect counsel to be adequately prepared taking all relevant

factors into consideration.

       Defendant further submits that granting the requested continuance prejudices neither the

Government nor the Defendant and that the public’s interest in a speedy trial will not be adversely

affected by granting this request for continuance.

       Undersigned counsel sought the consent of the government but received a question in lieu

of a basic response.


                                                      s/Cameron G. Boggs (fed ID 7085)
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June 13, 2019
